             Case 3:20-cr-00058-RGJ Document 1 Filed 06/03/20 Page 1 of 1 PageID #: 1
                                                                                                                      FILED
AO 91 (Rev. 11/11) Criminal Complaint                                                                      VANESSA L ARMSTRONG, CLERK

                                     UNITED STATES DISTRICT COURT                                                     Jun 03 2020
                                                                 for the
                                                                                                              U.S. DISTRICT COURT
                                                   __________ District
                                                    Western District of of __________
                                                                        Kentucky                         WESTERN DISTRICT OF KENTUCKY
                  United States of America                          )
                             v.                                     )
                    BRIAN N. DEAN, JR
                                                                    )      Case No.
                                                                    )                 3:20-mj-396
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      June 3, 2020               in the county of              Jefferson              in the
     Western           District of             Kentucky         , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. 922(g)(1)                               Felon in Possession of a Firearm




         This criminal complaint is based on these facts:
See attached affidavit.




         ✔ Continued on the attached sheet.
         ’

                                                                                      /s/ Dan Volk and /s/ Orrin Ambrose
                                                                                               Complainant’s signature

                                                                                Dan Volk, SA ATF and Orrin Ambrose, SA FBI
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:             06/03/2020
                                                                                                  Judge’s signature

City and state:                         Louisville, Kentucky                 Regina S. Edwards, United States Magistrate Judge
                                                                                                Printed name and title



        Print                        Save As...                  Attach                                                    Reset
